 Case 1:18-cr-00407-TSE Document 68-1 Filed 12/28/22 Page 1 of 8 PageID# 277



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA



UNITED STATES OF AMEzuCA,

                       Plaintiff,

                v.                                     1:18-CR-407

Aleksandr Brovko

                      Defendant.



                             DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. $ S53(nX1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on October 06,2022

and ending on Novemb er 04, 2022. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

December 05, 2022 at Alexandria, VA.



                                          Michele Johnson
                                          Contract Paralegal
 Case 1:18-cr-00407-TSE Document 68-1 Filed 12/28/22 Page 2 of 8 PageID# 278
Attachment 1


                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
               COURT CASE NUMBER: 1:18-CR-407; NOTICE OF FORFEITURE

        Notice is hereby given that on October 30, 2020, in the case of U.S. v. Aleksandr
Brovko, Court Case Number 1 :18-CR-407, the United States District Court for the Eastern
District of Virginia entered an Order condemning and forfeiting the following property to the
United States of America:

       Miscellaneous Computer Equipment (1 9-U55-000975), including the following
       items: 1 Miscellaneous SD Cards, bearing no serial numbers, Ser No: N/A;
       1 Miscellaneous Thumb Drives bearing no serial numbers, Ser No: N/A;
       1 a MacBook laptop, including hardware, software and data stored therein, Ser No:
       N/A;
       1 a MacBook image, Ser No: N/A;
       1 a Seagate 80 gigabyte external hard disk drive, Ser No: ST980811AS;
       1 a Western Digital 250 gigabyte external hard disk drive, Ser No: WD2500BEVS;
       1 a Western Digital 160 gigabyte external hard disk drive, Ser No: WD1600BEVT;
       1 a Seagate 250 gigabyte external hard disk drive, Ser No: 5T3250318AS;
       1 a Western Digital 500 gigabyte external hard disk drive, Ser No: WD5000BPKX;
       1 a Maxtor 100 gigabyte external hard disk drive, Ser No: STM31000528A5; 1 a
       Seagate 250 gigabyte external hard disk drive, Ser No: 5000C50037E23372;
       1 a Seagate 2000 gigabyte external hard disk drive, Ser No: ST2000DL003


        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (October 06, 2022) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. S 853(nX1). The ancillary petition must be
filed with the Clerk of the Court, U.S. District Court, 401 Courthouse Square, Alexandria,
VA 22314, and a copy served upon Assistant United States Attorney Annie Zanobini, 2100
Jamieson Avenue, Alexandria,VA 22314. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. $ 853(n).

        Following the Court's disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
 Case 1:18-cr-00407-TSE Document 68-1 Filed 12/28/22 Page 3 of 8 PageID# 279
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture a1e found atZS C.F.R, Section 9.5(b). The petition for remission need no! be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.qov/FilinqPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. lf you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Annie Zanobini, 2100 Jamieson Avenue, Alexandria ,VA 22314. This website
provides answers to frequently asked questions (FAas) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
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                                  Advertisement Gertification Report


The Notice of Publication was available on the www.forfeiture.qov web site for at least 'lB hours per day
between October 6,2022 and November 04, 2022. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system's daily
check that verifies that the advertisement was available each day.

U.S. v. Aleksandr Brovko

Gourt Case No:               1 :18-CR-407

For Asset ID(s):            See Attached Advertisement Copy




         1                  1010612022                      23_9                         Verified
         2                  10107t2022                      23.9                         Verified
         3                  101o8t2022                      23.9                         Verified
         4                  10t09t2022                      23.9                         Verified
         5                  10t10t2022                      23.4                         Verified
         b                  1tJt11t2U22                     23.9                         Verified
         7                  10t12t2022                      23.9                         Verified
         8                  1tJt13t2022                     23.9                         Verified
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        22                  10t27t2022                     23.4                          Verified
        23                  10t24t2022                     23.9                          Verified
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        25                  10t30t2022                      23.9                         Verified
        26                  10t31t2022                     23.9                          Verified
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        28                  11t02t2022                     23.9                          Verified
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        30                  11t04t2022                     23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
 Case 1:18-cr-00407-TSE Document 68-1 Filed 12/28/22 Page 5 of 8 PageID# 281



                        IN THE I.JNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA



UNITED STATES OF AMERICA,                   )
                                            )
                       Plaintiff,           )
                                            )
                v.                          )          1:18-CR-407
                                            )
Aleksandr Brovko                            )
                                            )
                      Defendant.            )



                             DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. $ 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official govemment internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on October 06,2022

and ending on Novemb er 04,2022. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

December 05, 2022 at Alexandria, VA.


                                                il+ld* o
                                         Michele Johnson
                                         Contract Paralegal
 Case 1:18-cr-00407-TSE Document 68-1 Filed 12/28/22 Page 6 of 8 PageID# 282
Attachment 1


                          UNITED STATES DISTRIGT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
               COURT CASE NUMBER: 1:18-GR-407; NOTTCE OF FORFEITURE

        Notice is hereby given that on October 30,2020, in the case of U.S. v. Aleksandr
Brovko, Court Case Number 1:18-CR-407, the United States District Court for the Eastern
District of Virginia entered an Order condemning and forfeiting the following property to the
United States of America:

       Assorted Cellphones (1 9-USS-000976), including the following items:
       a Samsung mobile phone, model number GT-S72330E, Ser No: N/A;
       a LG Mobile Phone, model number LG-D320N, Ser No: N/A;
       a Samsung mobile phone, model number SM-A300FU, Ser No: N/A;
       a Nokia mobile phone, model number X1-01, Ser No: N/A;
       a Nokia mobile phone, model number 100, Ser No: N/A;
       a Samsung mobile phone, model number SM-A310F, Ser No: N/A;
       a Samsung mobile phone, model number R3XQA66935X, Ser No: N/A;
       a Samsung mobile phone, model number GT-18200N, Ser No: N/A


        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (October 06, 2022) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. $ 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, U.S. District Court, 401 Courthouse Square, Alexandria,
VA 22314, and a copy served upon Assistant United States Attorney Annie Zanobini, 2100
Jamieson Avenue, Alexandria,VA 22314. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
u.S.C. $ 853(n).

        Following the Court's disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
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mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
the forfeiture are found at 28 C.F.R. Seclion 9.5(a). The criteria for mitigation of the
forfeiture are found at28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.qov/FilinqPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petitfon for remission online. !f you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Annie Zanobini, 2100 Jamieson Avenue, Alexandria ,VA 22314. This website
provides answers to frequently asked questions (FAas) about filing a petition for
remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
 Case 1:18-cr-00407-TSE Document 68-1 Filed 12/28/22 Page 8 of 8 PageID# 284

                                  Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.qov web site for at least 18 hours per day
between October 6,2022 and November 04,2022. Below is a summary report that identifies the uptime
for each day within the publication period and reports the results of the web monitoring system's daily
check that verifies that the advertisement was available each day.

U.S. v. Aleksandr Brovko

Court Gase No:               1:18-CR407
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         1                  1010612022                     23.9                          Verified
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        28                  11to2t2022                     23.9                          Verified
        29                  11t03t2022                     23.9                          Verified
        30                  11tO4t2022                     23.9                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
